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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:25-cr-272 IM

               v.                                    INFORMATION

JEFFREY A. KRUSE,                                    26 U.S.C. § 7202

               Defendant.



                        THE UNITED STATES ATTORNEY CHARGES:

                                    Introductory Allegations

       At all times relevant to this Information:

       1.      The Internal Revenue Service (“IRS”) was an agency of the United States within

the Department of the Treasury and was responsible for enforcing and administering the tax laws

of the United States.

       2.      Employers are required to withhold, truthfully account for, and pay over to the

IRS a variety of taxes from employee wages, collectively referred to as “payroll taxes” or “trust

fund taxes.” They are called “trust fund taxes” because the employer is required to hold the

taxes from employee wages “in trust” and pay them over to the IRS. These trust fund taxes

include federal income tax withholding (“withholding taxes”) and Federal Insurance

Contribution Act taxes (“FICA taxes”), as more particularly described below.


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            a. Withholding taxes – In general, an employer is required to deduct and withhold

               federal income tax on the amount of wages that are actually or constructively paid

               to its employees, and pay over those withholding taxes to the IRS; and

            b. FICA taxes – The FICA tax is comprised of two elements: (1) old-age, survivor

               and disability insurance, commonly referred to as “Social Security,” and (2)

               health insurance, commonly referred to as “Medicare.” Social Security taxes are

               used to fund retirement and disability benefits, while Medicare taxes are used to

               provide health and medical benefits for the aged and disabled. An employer is

               required to deduct and withhold FICA taxes on the amount of wages that are

               actually or constructively paid to its employees, and pay over those FICA taxes to

               the IRS.

       3.      A person is responsible for collecting, accounting for, and paying over trust fund

taxes if he or she has the authority required to exercise significant control of the employer’s

financial affairs, regardless of whether the individual exercised such control in fact.

       4.      Defendant JEFFREY A. KRUSE was a resident of Lake Oswego, Oregon.

       5.      JEFFREY A. KRUSE was the founder, president, and owner of a collection of

healthcare staffing companies that provided temporary healthcare staffing to hospitals in the

District of Oregon and elsewhere. These companies included Integrated Healthcare of Arizona

LLC, IHS California LLC, Integrated Healthcare Staffing LLC, Integrated Healthcare Solutions

LLC, and Integrated Medical Systems LLC (collectively, the “Integrated businesses.”).

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       6.       As founder, president, and owner of the Integrated businesses, and based on the

control he exercised over their financial affairs, JEFFREY A. KRUSE, was a person

responsible for collecting, accounting for, and paying over to the IRS, trust fund taxes that the

Integrated businesses withheld from their employees’ wages.

       7.       From 2013 through 2019, defendant JEFFREY A. KRUSE, provided one set of

Forms W-2 to employees of the Integrated businesses that accurately reflected the wages paid to

them. However, at the same time, defendant JEFFREY A. KRUSE filed a separate set of

hundreds of false Forms W-2, Forms W-3, Forms 941, and Forms 940 with the Social Security

Administration and IRS that falsely omitted or underreported the wages paid to and taxes

withheld for employees of the Integrated businesses.

                                             COUNT 1
            (Willful Failure to Collect, Account for, and Pay Over Trust Fund Taxes)
                                         (26 U.S.C. § 7202)

       8.       Paragraphs 1 through 7 of the Information are realleged and incorporated by

reference as though fully set forth herein.

       9.       On or about April 30, 2019, in the District of Oregon, defendant JEFFREY A.

KRUSE, as the owner and corporate officer in charge and responsible person for Integrated

Healthcare Solutions LLC, was required by the tax laws of the United States to collect, account

for, and pay over to the IRS, federal income taxes and FICA taxes from the total taxable wages

of employees of Integrated Healthcare Solutions LLC, and did willfully fail to truthfully collect,

account for and pay over to the IRS, all of the federal income taxes withheld and FICA taxes due

and owing to the United States for Integrated Healthcare Solutions LLC, in the amount and for

the quarter listed below:



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                                      On or About Date
               Quarter                                            Taxes Due and Owing
                                    Quarterly Return Filed

            2019 Quarter 1               April 30, 2019                    $20,863


In violation of Title 26, United States Code, Section 7202.


Dated: June 20, 2025                                 Respectfully submitted,

                                                     WILLIAM M. NARUS
                                                     Acting United States Attorney


                                                     /s/ Andrew T. Ho
                                                     ANDREW T. HO, OSB #185047
                                                     Assistant United States Attorney




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